                                                                                                              ______________________
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                                    UNITED           STA1’Es         DIsTRIcT            C  .   OURT


  —
                        for the                       District of                               New Jersey

              United States of America
                                                                                 ORDER SETTING CONDITIONS

                              V.                                                                 OF RELEASE
                 DAVID HELLMAN
                                                                                           Case Number: 13-2550
                         Defendant

IT IS ORDERED on this 16 TH day of OCTOBER. 2013 that the release of the defendant is subject to the following
conditions:
       (1) The defendant must not violate any federal. state or local law while on release.
       (2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
            42 U.S.C. 14135a.
       (3) The defendant must immediately advise the court, defense counsel, and the U.S. attorney in writing before
              any change in address and/or telephone number.
          (4) The defendant must appear in court as required and must surrender to serve any sentence imposed.
                                                              Release on Bond
                                           o
Bail be fixed at      $___________________
                                              ___
                                                    and the defendant shall be released upon:

      ( ) Executing an unsecured appearance bond ( ) with co-signor(s)
      (   Executing a secuied appearance bond ( ‘sith co-signor(s) Mi                       hi ñ5CYI /4
          and ( ) depositing in cash in the registry of the Court      of the bail fixed; and/or ( ) exeute an
             agreement to forfeit designated property located at
             Local Criminal Rule 46.1 (d)( 3) waived/not waived by the Court.
      (    ) Executing an appearance bond with approved sureties, or the deposit of cash in the full amount of the bail
             in lieu thereof;

                                                    Additional Conditions of Release
Upon finding that release by the above methods will not by themselves reasonably assure the appearance of the
defendant and the safety of other persons and the community, it is further ordered that the release of the defendant is
subject to the condition(s) listed below:

IT IS FURTHER ORDERED that, in addition to the above, the following conditions are imposed:
      ( Report to Pretrial Services (PTS”) as directed and advise them immediately of any contact with law
       ‘
          enforcement personnel, including but not limited to, any arrest, questioning or traffic stop.
     ( ) The defendant shall not attempt to influence, intimidate, or injure an juror or judicial officer: not tamper
            ith any s itness ictim or informant not ietaliate against am sitness ‘s ictim oi informant in this case
     ( )  The  defendant shall be released into the third party custody of____________________________________
              ii hoagrees (a to upei is e the dc lendant in ac c oi dance 11 it/i all the c ond,’ion s of t c/c use thi to us e e c r cf/or!
              to assure the appearance oft/ic def’ndant a! all scheduled court proceechngs, and (c/ to notify the court
              immediately in the event the defendant violates any conditions of release or disappears.


               Custodian Signature:                                                       Date:
                                                                                                                                       PAGE 1 0F3
                                                                                                  _______________________
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(             The defindants tra\el is restricted to (‘i) Ne’ Jersey () other
                                                                                 ( ) unless approed b’ Pretrial Ser ices
             (PFS).
(             Surrender all passports and travel documents to PTS. Do not apply for new trael documents.
(             Substance abuse testing and or treatment as directed hx PTS. Refrain from obstructing or tampering with
             substance abuse testing procedures equipment.
(       )    Refrain from possessing a firearm, destructie de ice, or other dangerous eapons. All tirearms in any
             home in which the defendant resides shall he remo\ed h\                         and erification pro\ided to P15.
(            Mental health testing treatment as directed by PTS.
( )          Abstain from the use of alcohol,
( )          Maintain current residence or a residence appro ed by PTS.
( )          Maintain or actix ely seek employment and or commence an education program.
( )          No contact with minors unless in the presence of a parent or guardian ho is aware of the present offense.
(            Have no contact ith the folloing individuals:                                      fr
(            l)efendant is to participate in one of the follo ing home confinement pr gram components and abide by
    I        all the requirements of the program which \ill or ( ) will not include electronic monitoring or other
             location verification system. You shall pay all or part of the cost of the program based upon your ability to
             pay as determined by the pretrial services office or super’ising officer.
              ( ) (i) Curfev. You are restricted to your residence every day ( ) from               —    to        . or
                             ) as directed by the pretrial ser ices office or super ising officer: or
              ( ) (ii) Home Detention. You are restricted to your residence at all times except for the following:
                          education: religious services; medical, substance abuse, or mental health treatment:
                          attorney visits: court appearances: court-ordered obligations: or other activities pre
                          approved by the pretrial services office or supervising officer. Additionally, employment
                          ( ) is permitted ( ) is not permitted.
              ( (iii) Home Incarceration. You are restricted to your residence under 24 hour lock-down except
                          for medical necessities and court appearances. or other activities specifically approved by
                          the court.
(       )     Defendant is subject to the following computer/internet restrictions which may’ include manual
              inspection and/or the installation of computer monitoring software, as deemed appropriate by
              Pretrial Services. The defendant shall pay all or part of the cost of the monitoring software based
              upon their ability to pay. as determined by’ the pretrial services office or supervising officer.
             ( ) (i) No Computers defendant is prohibited from possession and/or use of computers or
                                         -




                          connected devices.
             ( ) ii) Computer No Internet Access: defendant is permitted use of computers or connected
                                    -




                          devices, but is not permitted access to the Internet (World Wide Web. FTP Sites, IRC
                          Seners. Instant Messaging. etc):
             ( )    iii) Computer     With Internet Access: defendant is permitted use of computers or connected
                         devices, and is permitted access to the Internet (World Wide Web. FTP Sites, IRC Servers,
                         Instant Messaging. etc.) for legitimate and necessary purposes pre-approed by Pretrial
                         Seryices at [ J home [ j for employment purposes.
             ( ) (iv) Consent of Other Residents -by consent of other residents in the home, any computers in
                         the home utilized by other residents shall he approxed by Pretrial Services. passx\ord
                         protected by a third party custodian approved by Pretrial Ser ices, and subject to inspection
                         for compliance by Pretrial Services.

() Other:                                          I   y         Ltt              (,L IV    C                    OLfl
            ) Other:

             Other:
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                                        ADVICE OF PENALJIES AND SANCTIONS

TO THE I)FFFNDAN F:
YOE ARE ADVISFD OF FIlE FOLLOWING PENAL FIES AND SANCI IONS:
                       Violating an of the foregoing conditions ol release ma\ result in the immediate issuance of a arran
 for your arrest, a re ocation of\our release, an order of detention. a forfeiture ofanv bond. and a prosecution for contemp
of court and could result in imprisonment, a fine, or both.
            While on release, if you commit a federal felony offense the punishment is an additional prison term of not mon
than ten years and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year
This sentence \ill be consecutive (i.e.. in addition to) to any other sentence you receive.
            It is a crime punishable by up to ten years in prison, and a S250.000 fine, or both, to: obstruct a crimina
investigation: tamper with a itness. victim, or informant: retaliate or attempt to retaliate against a v itness. \ ictim. 0
informant or intimidate or attempt to intimidate a witness, victim, juror. informant, or officer of the court. The penaltie:
for tampering, retaliation, or intimidation are significantly more serious if they inxolve a killing or attempted killing.
            if. after release, you knoingly fail to appear as the conditions of release require. or to surrender to serxe
sentence. you may be prosecuted for failing to appear or sun’ender and additional punishment may be imposed. If you an
convicted of:
                (1) an offense punishable by death. life imprisonment, or imprisonment for a term of fifteen years or mon
                    —  you will be fined not more than $250,000 or imprisoned for not more than 10 years, or both
                (2) an offense punishable by imprisonment for a term of five years or more. but less than fifteen years yor
                                                                                                                          -




                     will be fined not more than $250.000 or imprisoned for not more than five years. or both:
                (3) any other felony you will be fined not more than $250,000 or imprisoned not more than two years. oi
                                     —




                     both;
                (4) a misdemeanor you vill be fined not more than $100,000 or imprisoned not more than one year, oi
                                    —




                     both,
                A term of imprisonment imposed for failure to appeal’ or surrender will be consecutive to an other sentenc
you receive. In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                            Acknowledgment of the Defendant

              I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise
to obey all conditions of release, to appear as directed. and surrender to serve any sentence imposed. I am aware of the
penalties and sanctions set forth above.


                                                                          Defendant s Signature


                                                                                 Ciii’ and State

                                          Directions to the United States Marshal
          The defndant is ORDED released after processing.
          The Lnited States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge
          that the defendant has posted bond and or complied vith all other conditions for release. If still in custody, the
          defendant must be produced before the appropriate judge at the time and place specified.


                                                              ,          Jud,%tl     /1 icer s Signature

                                                                          Punt      name and title
                                                                                                     J
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